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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

ELLIS SUMMERLIN, et al,

        Plaintiffs,

v.                                  CASE NO. 4:17-cv-00434-RH-CAS

EDDIE JOE WHITE, et al,
        Defendants.
                                       /

        PLAINTIFF’S SECOND SUPPLEMENTAL STATEMENT
                OF COMPLIANCE WITH RULE 26
                  (witnesses added and highlighted)

       Plaintiffs, ELLIS SUMMERLIN, K ARE N S UMME RLIN ,
and B ARB ARA B ASKI NS make the following disclosures in
accordance with Rule 26(a)(1)(A)(i-iii) and 26(a)(1)(C), Federal Rules of
Civil Procedure:

         A.     Rule 26(a)(1)(A)(i),Federal Rules of Civil Procedure,
requires disclosure of the name and, if known, the address and
telephone number of each individual likely to have discoverable
information relative to the disputed facts alleged with particularity
in the pleadings, identifying the subjects of the information. Plaintiffs
have conducted the reasonable inquiry required under Rule 26(g),
and, to the best of the Plaintiffs' knowledge, information and belief, the
disclosure is complete and correct as of the time that it is made.
Plaintiffs, however, reserve the right to supplement this list upon
discovery of additional information which may be relevant to this
action:

        1.     Plaintiffs
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   2.    All persons identified by Defendant in its Rule 26 disclosures.
         Plaintiffs rely on the information provided by Defendant in its
         rule 26 disclosures as to the knowledge of each such witness
         about claims and defenses. Plaintiffs will supplement this report
         if needed after depositions and additional information is
         gathered.

   3.    All persons identified by Defendant and Plaintiffs in any
         answers to any interrogatories.        Plaintiffs rely on the
         information provided by Defendant about the role and relevant
         knowledge held by each witness and will supplement this
         response if and when additional information is obtained.

   4.   All persons noticed and/or deposed during discovery. Plaintiffs
        list this category of potential witnesses in an abundance of
        caution. To Plaintiffs' knowledge no one has yet been noticed
        for deposition.      Plaintiffs anticipate that witnesses on
        Defendant’s Rule 26 disclosure, as well as the Plaintiffs', will be
        deposed. At this point, Plaintiffs rely on Defendant’s Rule 26
        disclosure.

   5.    All records custodians of any and all records Plaintiffs seek to
         introduce as evidence at trial. Plaintiffs list this category in an
         abundance of caution. Plaintiffs anticipate that the parties will
         cooperate in authenticating documents and that records
         custodians will not be necessary. However, in the event they
         are, Plaintiffs will call records custodians as to any and every
         document produced during this case whether from the parties or
         third parties, as needed to authenticate documents that are not
         otherwise stipulated as authentic by the parties.

   6.    One or more of Plaintiffs' family members and personal friends,
         having knowledge of emotional damages occasioned to
         Plaintiffs by Defendant’s activities as follows, as well as the
         work ethic and character of Plaintiffs:

         Stanley Griffith, Plaintiff Ellis Summerlin's Uncle - (850) 447-
         2350; has knowledge of Plaintiffs' emotional distress; may have
         knowledge of other claims and defenses in this matter.


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         Shelly Zuniga, Plaintiff Karen Summerlin's Friend - (850)643-
         4134; has knowledge of Plaintiff's emotional distress; may have
         knowledge of other claims and defenses in this matter.

         Gene Barnhill, Plaintiff Karen Summerlin's Friend - (850) 447-
         2145; has knowledge of Plaintiff's emotional distress; may have
         knowledge of other claims and defenses in this matter.

   7.    The following doctors may have knowledge and opinions they
         have regarding treatment of the Plaintiffs:

         Plaintiffs are still in the process of gathering this information
         together and will provide it in a supplement at a later date.

   8.    The following current and former employees of Defendant may
         have knowledge of Plaintiffs' work performance and/or
         knowledge of Defendant's discrimination against Plaintiffs:

         ALL PLAINTIFFS:

         Jody Barfield, Bail Bondsman - (850) 639-2663; Has
         knowledge of providing bail for Plaintiff Ellis Summerlin who
         was abused and injured by Defendant's police officers and
         falsely arrested on charges that were later dropped; may have
         knowledge of other claims and defenses in this matter.

         Joshua Biggs c/o Defendant - Has knowledge of forcing his way
         into Plaintiff's (Karen and Ellis Summerlin) home on September
         27, 2013 brandishing a rifle and using that rifle to injure
         Plaintiff, Ellis Summerlin; has knowledge of going into the
         bedroom of Plaintiff's (Karen and Ellis Summerlin) 4-year
         old child, pointing a gun at the child and yelling "who else is
         in the fucking house?"          Has knowledge of threatening
         Plaintiff Karen Summerlin with his taser when she expressed
         her concern about his pointing a gun at her child; has knowledge
         of handcuffing and arresting Ellis Summerlin on charges that
         were later dismissed; has knowledge of asking Plaintiffs, Karen
         and Ellis Summerlin, about the location of "marked money"
         repeatedly stating "we want our money" which Plaintiffs


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         repeatedly stated they did not have; may have knowledge of
         other claims and defenses in this matter.

         Kayla Brown, Wife of Van Brown, Plaintiff's Cousin - Address
         Unknown; Has knowledge of Plaintiff Ellis Summerlin being a
         passenger in her vehicle when she stopped for gas at an Exxon
         station on September 30, 2013; has knowledge of Ellis
         Summerlin exiting her vehicle at the gas station and being
         approached by Captain John Summers who threatened Ellis
         Summerlin with a raised flashlight in his hand; may have
         knowledge of other claims and defenses in this matter.

         Van Brown, Plaintiff Ellis Summerlin's Cousin - may have
         knowledge of officers searching for him with regard to a mojo
         distribution sting operation; may have knowledge of other claims
         and defenses in this matter.

         Jerry Carpenter - Central Street, Blountstown, FL; Has
         knowledge of being present when Plaintiff Baskins' home caught
         fire; has knowledge of witnessing two police officers watching
         the fire; has knowledge of calling the fire department and then
         witnessing the officers radio it in; may have knowledge of other
         claims and defenses in this matter.

         Marie Cogland, Family Friend who resides in New York; has
         knowledge of getting Plaintiff's son out of bed when Plaintiff's
         house was raided by the police; may have knowledge of other
         claims and defenses in this matter.

         James Faircloth, Inmate at Calhoun County Jail; has knowledge
         of calling Karen Summerlin when her mother's house was on
         fire; has knowledge of being on scene at the house fire prior to
         the deputies arrival; has knowledge that the deputies stood out at
         the road next to Plaintiff's trash cans during the house fire; may
         have knowledge of other claims and defenses in this matter.

         Jonathan Gentry c/o Defendant - Has knowledge of visiting
         Subway on September 27, 2013 with Officer Revell knowing
         that Plaintiff Karen Summerlin worked there; has knowledge that
         he and Revell spoke with Summerlin's supervisor with the full

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         intention of getting Summerlin demoted or terminated; has
         knowledge that Summerlin was terminated that day as a result of
         their visit; has knowledge of the burning of Plaintiff Baskins'
         home and may have participated in causing the fire; has
         knowledge of being in the vicinity of Baskins' home when the
         fire started; has knowledge that the fire began in a very
         suspicious way and was never investigated by the fire marshal;
         may have knowledge of other claims and defenses in this matter.

         Stanley Griffith, Plaintiff Ellis Summerlin's Uncle - Address
         Unknown, (850) 447-2350; Has knowledge of contacting Kelli
         Peacock, a reporter at the County Record, regarding the
         Defendant's harassment of Plaintiffs; has knowledge of Ms.
         Peacock starting an investigation into Plaintiffs' allegations; has
         knowledge of also reporting Plaintiffs' harassment to Florida
         Congressman, Halsey Beshears; may have knowledge of other
         claims and defenses in this matter.

         Dale Hobby, Bristol Fire Chief c/o Defendant - Has knowledge
         of being at the scene of the house fire when Barbara Baskins'
         home burned to the ground; has knowledge that he never got out
         of his truck to investigate the cause of the fire; may have
         knowledge of other claims and defenses in this matter.

         Buddy Money, Former Sheriff of Liberty County c/o Defendant
         - Has knowledge of speaking with Plaintiffs Karen and Ellis
         Summerlin on September 30, 2013 about the ongoing
         harassment they were experiencing from Sheriff White and his
         deputies; has knowledge of speaking with Florida House of
         Representatives member Halsey Beshears about Plaintiffs'
         complaints of harassment from Defendants; may have
         knowledge of other claims and defenses in this matter.

         Tim Partridge, Deputy c/o Defendant - Has knowledge of being
         present with Officers Taylor and Biggs when they forced their
         way into the Summerlin home on September 27, 2013; has
         knowledge of being present when Plaintiff Ellis Summerlin
         was injured; has knowledge of being present when Joshua Biggs
         pointed a gun at the Summerlin's 4-year old child and yelled


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         "who else is in the fucking house?" Has knowledge of Plaintiff
         Ellis Summerlin's arrest that day; may have knowledge of other
         claims and defenses in this matter.

         Kelli Peacock, Reporter for the County Record - Address
         Unknown; Has knowledge of speaking with Stanley Griffith
         about the harassment Plaintiffs were being subjected to by the
         Defendants; has knowledge of starting an investigation into these
         allegations made by Plaintiffs; has knowledge of that once
         she began making inquiries, the Defendant Sheriff stopped
         providing jail logs to the County Record; may have knowledge
         of other claims and defenses in this matter.

         Tara Michelle Read, Pea Ridge Estates Rd., Bristol, FL-
         knowledge that Ellis Summerlin was at her home on 9/27/13
         from 10 a.m. to 4 p.m. and he did not have black eyes, bruises or
         abrasions on his face or body.

         Oren Revell, Brother of Robert Revell - Address Unknown; Has
         knowledge of working for Talquin Electric and being in charge
         of disconnecting utilities to customers; has knowledge of
         disconnecting the electricity and other utilities to Plaintiff Ellis
         Summerlin and Karen Summerlin's home; may have knowledge
         of other claims and defenses in this matter.

         Robert Revell c/o Defendant - Has knowledge of returning to
         the Summerlin's home on September 28, 2013 demanding that
         the Summerlins return a folder containing the search warrant
         that had been left in the home by Officers the previous day; has
         knowledge of Officer Taylor threatening the Summerlin
         Plaintiffs with calling DCF when they failed to return the search
         warrant to the officers; has knowledge of visiting Plaintiff Karen
         Summerlin's workplace at Subway with Officer Gentry and
         speaking with Summerlin's supervisor fully intending to cause
         Karen Summerlin's demotion or termination; has knowledge of
         being close to the scene of the fire that burned Plaintiff Barbara
         Baskins' home to the ground; has knowledge of entering the
         Baskins home just prior to when the fire started and having no
         justifiable reason to be there; may have knowledge of other
         claims and defenses in this matter.

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           Jarrod Taylor c/o Defendant - Has knowledge of forcing his
           way into Plaintiffs' (Karen and Ellis Summerlin) home on
           September 27, 2013 brandishing a rifle and using that rifle to
           injure Plaintiff, Ellis Summerlin; has knowledge of arresting
           Plaintiff Ellis Summerlin on charges that were later dropped;
           has knowledge of returning to the Summerlin home on
           September 28, 2013 looking for a folder containing the search
           warrant from the night before; has knowledge that when Plaintiff
           told him she did not have the folder, he responded with "no
           folder, no harassment charges, and DCF will be called." Has
           knowledge of also threatening to violate Plaintiff Karen
           Summerlin's probation if she didn't return the folder to him;
           has knowledge of participating in the disconnection of Plaintiff's
           electricity and other utilities through Talquin Electric and
           alerting DCF to the shut-off; may have knowledge of other
           claims and defenses in this matter.

           Bradley Whitfield- Bristol, FL- knowledge that Ellis
           Summerlin was at the Read home on 9/27/13 from 10 a.m. to 4
           p.m. and he did not have black eyes, bruises or abrasions on his
           face or body.

           Jennifer Williams - Address Unknown; Has knowledge of
           being present when Plaintiff Baskins' home caught fire;
           has knowledge of witnessing two police officers just watching
           the fire; has knowledge of calling the fire department and then
           witnessing the officers radio it in; may have knowledge of other
           claims and defenses in this matter.


         B.    Rule 26(a)(1)(A)(ii), Federal Rules of Civil Procedure,
requires disclosure of a copy or a description by category and location
of, all documents, data, compilations, and tangible things in the
possession, custody or control of the party that are relevant to the
disputed facts alleged with particularity in the pleadings. Plaintiff
reserves the right to supplement this list as additional information
becomes available. Plaintiff has performed a good faith examination of
the pleadings and of all documents in Plaintiff’s possession and makes
the following disclosure of documents that may be relevant:

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      1.    Plaintiffs' pictures of injuries to Ellis Summerlin's face that
            happened as a result of Defendant's actions on September 27,
            2013


        C.      Rule 26(a)(1)(A)(iii),Federal Rules of Civil Procedure,
requires a computation of any category of damages claimed by the
disclosing party, making available for inspection and copying under
Rule 34 the documents or other evidentiary material not privileged or
protected from disclosure on which such computation is based, including
materials bearing on the nature and extent of injuries suffered. Plaintiff,
to the extent that these documents are available, identifies the following:

      1.    Plaintiff claims lost wages and other tangible damages. The
            following are estimates of Plaintiff’s damages based upon the
            information he is aware of and can recall at this time:

            PLAINTIFF KAREN SUMMERLIN:

            Plaintiff was terminated from her job at Subway on September
            28, 2013 as a result of actions caused by Officer Revell and
            Officer Gentry. Plaintiff was earning weekly wages of
            approximately $200.00 per week when she worked at Subway.
            From September 28, 2013 until May 8, 2016, a period of
            approximately 136 weeks, Plaintiff did not work or earn any
            money. $200.00 for 136 weeks is approximately $27,200.00
            Plaintiff suffered in lost wages during this time period. As a
            result of the house fire which consumed the home of Plaintiff
            Barbara Baskins, Plaintiff lost personal belongings that were in
            the home at the time and her children lost personal belongings.
            The estimated value of those belongings has not yet been
            determined but will be provided in a supplement at a later time.

            As of this date, January 8, 2018, Plaintiff estimates her damages
            at approximately $27,200.00.




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         PLAINTIFF ELLIS SUMMERLIN:

         Plaintiff was falsely arrested on September 27, 2013 and
         suffered injuries as a result of the abuse of Officers Taylor and
         Biggs on September 27, 2013. Plaintiff's medical bills will be
         provided in a supplement at a later date. To gain Plaintiff's
         release from jail, the bail bondsman was given $1,200.00 in cash
         and a houseboat (value undetermined at this time) as bail
         money. Once the value of the houseboat is determined, Plaintiff
         will update his damages and provide that information in a
         supplement at a later date.

         PLAINTIFF BARBARA BASKINS:

         Plaintiff's home burned to the ground on or about October 10,
         2013 under suspicious circumstances. Plaintiff firmly believes
         the fire was a direct result of actions caused by the Defendants.
         Plaintiff lost everything in her home including the structure
         itself. Plaintiff Baskins and her daughter Plaintiff Karen
         Summerlin are currently in the process of gathering information
         together to produce an inventory of all items lost in the fire as a
         result of Defendant's actions. Those damages will be provided
         in a supplement at a later date.

   2.    Plaintiffs are also entitled to damages relating to mental anguish,
         emotional distress, depression, anger, escalated levels of stress,
         feelings of helplessness, embarrassment, humiliation, loss of
         capacity for the enjoyment of life, and illness. It is not Plaintiffs'
         counsel’s practice to ask the jury for a set financial award for
         intangible damages. Instead, it is Plaintiffs' counsel’s practice
         to ask the jury to award an amount of money for emotional pain
         and suffering that will fairly compensate the Plaintiffs for the
         mental pain and suffering endured as a result of the unlawful
         acts of Defendant.
         Plaintiffs submit that the decision how much to award for
         these damages belongs to the jury and to the jury alone.
         Plaintiffs further submit that on a practical level, a forced
         statement of emotional pain and suffering damages, as here, is
         pernicious. Appearing as it must in a court paper, it is subject

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            to Rule 11 and, therefore, in light of the above authorities and
            common sense, the number given is necessarily not based on
            any specific calculation or formula.
            Plaintiffs also claim entitlement to attorneys' fees and costs in
            this matter.

      3.    Lost pay increases and bonuses, as may be applicable.

      4.    Punitive Damages, amount sought will be the maximum allowed
            by law and the facts of the case.

      5.    Injunctive relief and other equitable relief as allowed by law.

      6.    Reinstatement of Plaintiffs' position, pay, fringe benefits, and
            tenure.

      7.    Plaintiffs also seek to recover front pay and back pay, as may be
            applicable.

      8.    Other damages may be made known to Plaintiffs during the
            course of this action.


       D. Rule 26(a)(1)(A)(iv), Federal Rules of Civil Procedure,
requires disclosure of any insurance agreement under which any
person carrying on an insurance business may be liable to satisfy
part or all of any judgment which may be entered in the action or to
indemnify or reimburse for payments made to satisfy the judgment.
      Plaintiffs have no such insurance policy but reasonably believe that a
policy of insurance covers Defendant's actions in this case.




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                            Respectfully submitted,



                            /s/ Marie A. Mattox
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                            ATTORNEY FOR PLAINTIFF


                   CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true copy of the foregoing has been
served by email this 23rd day of May, 2018 to:

                            MATTHEW J. CARSON, ESQ.
                            MJC@jollylaw.com
                            JOLLY, PETERSON &
                             TRUCKENBROD, P.A.
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                            Tallahassee, Florida 32315

                            ATTORNEY FOR DEFENDANT


                            /s/ Marie A. Mattox
                            Marie A. Mattox




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